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1                                                                           The Hon. Marsha Pechman
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8                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
9                                         AT SEATTLE
10   UNITED STATES OF AMERICA,                        )
                                                      ) CAUSE NO. CR 05-0182 P
11                   Plaintiff,                       )
                                                      ) ORDER CONTINUING MOTIONS
12           v.                                       ) DEADLINE AND TRIAL DATE
                                                      )
13   TONY L. TABUBA et al.                            )
                                                      )
14                                                    )
                     Defendants.                      )
15
16           The Court, having reviewed the records and files herein and considered the stipulation
17   of the Government and the defendant Keith Sims, makes the following findings and enters the
18   following order:
19           1.      Additional time is necessary for the Government and defendants to complete
20   plea negotiations or prepare for trial.
21           2.      The ends of justice outweigh the best interest of the public and the defendants
22   in a speedy trial..
23           IT IS HEREBY ORDERED that the trial date for defendants Tony Tabuba, Keith
24   Sims, Yvette Bailey, Dolly Cooper and Mark Carillo is continued from July 18, 2005 to
25   September 6, 2005, with a motions deadline of July 28, 2005;
26           IT IS FURTHER ORDERED that pursuant to Title 18, United States Code, Section
27   3161(h), the period of time from the current trial date to the new trial date, for all defendants,
28   is excluded in the computation of time under the Speedy Trial Act as this is a reasonable period


     ORDER CONTINUING MOTIONS DEADLINE                                               COHEN & IARIA
                                                                                   National Bldg., Ste. 302
     AND TRIAL DATE - Page 1                                                        1008 Western Avenue
                                                                                  Seattle, Washington 98104
                                                                                         206-624-9694
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1    of delay;
2           IT IS FURTHER ORDERED THAT counsel for all Defendants file a speedy trial
3    waiver through September 9, 2005.
4           DONE this   28th      day of June 2005.
5
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7
                                                      A
                                                      Marsha J. Pechman
                                                      U.S. District Judge
8
9
     Presented by:
10
11   /s/Neil M. Fox_______________________
12   NEIL M. FOX
     WSBA NO. 15277
13   Attorney for Keith L. Sims
14
     Cohen & Iaria
15   1008 Western Ave. Suite 302
     Seattle WA 98101
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     Telephone: 206-624-9694
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1                                      CERTIFICATE OF SERVICE
2
             I hereby certify that on the 2nd day of June, 2005, I electronically filed the foregoing
3
     with the Clerk of the Court using the CM/ECF system which will send notification of such
4
5    filing to attorney of record for the Plaintiff and all other parties.
6
7                     /s/Neil M. Fox
                     NEIL M. FOX
8                    WSBA NO. 15277
9                    Attorney for Defendant
                     Cohen & Iaria
10                   1008 Western Ave. Suite 302
                     Seattle WA 98104
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